Case 1:01-cV-01139-.]DT Document 24 Filed 06/22/05 Page 1 of 3 Page|D 23

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DERWIN KiNG, 9 OF

and Wife, PAMELA KING,
and MATTHEW KING, a minor,
Plaintiff,
vs. No. 1-{]1-1]39

WAL-MART sToREs, INC.,
and CMI INDUSTRIES, INC.

Defendants.

 

CONSENT ORDER OF DISl\/HSSAL WITH PREJUDICE

 

The parties to this cause appeared before the Court, through their counsel of
record, and announced that all the matters and things in controversy have now been
compromised and settled, and all parties have agreed that this cause should be dismissed
with prejudice at the cost of the Defendants, Wal-Mart Stores, Inc. and Claims
Management, lnc., wrongfully sued as CMI lndustries, lnc.

IT lS, THEREFORE, ORDERED, AD.TUDGED AND DECREED that the
Plaintiffs’ cause be, and the same hereby is, dismissed with prejudicc, and that the costs
ol` this cause are assessed against the Defendants, Wal-Mart Stores, lnc. and Claims

Management, lnc., wrongfully sued as CMI lndustries, lnc., for which let execution issue.

 

Thls document entered on the docket sheet ln compliance
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Case 1:01-cV-01139-.]DT Document 24 Filed 06/22/05 Page 2 of 3 Page|D 24

APPROVED FOR ENTRY:

 

 

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UNITED sTTEAS DISTRIC COUR - W'"RNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case l:Ol-CV-Ol 139 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

A. Russell Larson

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Honorable J ames Todd
US DISTRICT COURT

